1. Where a disputed claim is settled and adjusted by the parties, and a contract is accordingly made whereby one promises to pay the other a sum of money, the promisor is bound thereby, though such question be really free from doubt, and properly resolved would have absolved him from all liability. In order to render valid the compromise of a claim, it is not essential that the matter should be really in doubt. *Page 723 
It is sufficient if the parties consider it so far doubtful as to make it the subject of a compromise.
2. Where there is no conflict in the evidence, and that introduced, with all reasonable deductions or inferences therefrom, shall demand a particular verdict, the court may direct the jury to find for the party entitled thereto.
3. Where a defendant admits a prima facie case in the plaintiff and assumes the burden of proving an affirmative defense, but fails to carry such burden, the court may properly direct a verdict for the plaintiff.
4. The verdict in favor of the plaintiff in the present case was demanded, and the trial judge did not err in so directing.
       DECIDED FEBRUARY 17, 1949. REHEARING DENIED MARCH 4, 1949.
F. G. Beavers sued H. Dennis Hall on a promissory note for $125 principal, together with interest and attorney's fees. The defendant admitted a prima facie case for the plaintiff, and further answering alleged "that the plaintiff was bound by contract to cancel and deliver to him a security deed upon certain realty held by the defendant in Sumter County, nevertheless, the plaintiff failed and refused to perform his contractual obligation unless the defendant would execute and deliver to him the aforesaid promissory note for a pretended debt which the defendant did not owe and which had no connection whatsoever with the said security deed, whereupon the said defendant did sign and deliver the said note for the sole purpose of obtaining the canceled security deed which the plaintiff was already under a duty to cancel and deliver."
On the trial, the defendant, H. Dennis Hall, assumed the burden of proof, and testified as follows: "On March 27, 1946, I signed and delivered to F. G. Beavers a note in the sum of $125, payable November 1, 1946. It is the same note upon which Mr. Beavers is now suing me in this court. At the time I signed and delivered this note to Mr. Beavers I owed him nothing. I signed it in order to get Mr. Beavers to cancel and deliver to me a security deed on 50 acres of land I bought from him in Sumter County. I bought this land from Mr. Beavers in 1943. He told me when I bought it that he would sell it to me for $1500 and that this could be paid $300 down and $400 per year for three successive years with interest. When we entered into this transaction I paid him $300 down and gave him a security deed on *Page 724 
the land for the $1200 balance. He told me that when I paid him this $1200 balance he would cancel and deliver to me the security deed I was giving him. This security deed was in favor of Mrs. L. B. Williams, but all of my dealings about this land were with Mr. Beavers. He was the one that was to cancel and deliver to me the security deed, and he finally did it as her attorney in fact after he got me to sign this note for $125 which I did not owe. My father and I had rented this 50 acres of land from Mr. Beavers for several years up until 1941, but in 1941 and 1942 he rented it to someone else, and then in 1943 we started dealing with him to buy the place. I remembered that when we rented this place my father and Mr. Beavers had a dispute about some back rent which Mr. Beavers claimed we owed, so when I started talking to Mr. Beavers about buying the place he was reminded about this back rent which he had been claiming, and he told us that all he wanted was $1500 for the place, and that if I would pay him that for it, he would forget about the back rent and give me a clear title to the property. We asked Mr. Beavers about surrendering to us the two rent notes which he had been claiming we owed him on, and he said he would give them to us but that they had been stolen from his car. I paid for this property in accordance with the agreement we had until the last payment came due in 1946, and I could not get Mr. Beavers to take it. I tried and tried to get him to take it, but he would not do it. Finally we got Mr. Beavers up to lawyer Fort's office and again I tried to get Mr. Beavers to take the payment, and he would not do it unless I would sign a note for the back rent which he now claimed had never been paid. This was the first time he had said anything about any back rent since we discussed it at the time I bought the place. He now wanted me to sign a note for $240, and I would not do it, and he kept on until he got down to $125. I told him that I did not owe him anything and that I was not going to sign any notes, but when he got down to $125 I decided to sign the note and give it to him. I figured it would be a whole lot better to fight over the note if he ever tried to collect it than it would be to let him tie up my 50 acres of land. I signed the note for $125, but I did not owe him anything and I did it to get him to cancel and deliver to me the *Page 725 
security deed which he had promised to do when I paid him $1500. This note did not have anything to do with the $1500, as I paid him that amount in full; it was just that he would not take the last payment on the $1500 and cancel my security deed like he said he would unless I would sign this note for $125 for a debt I did not owe. When I signed the note he canceled and delivered to me the security deed as attorney in fact for Mrs. L. B. Williams and also gave me two rent notes totaling $240, and they are the same ones which he had previously stated were stolen from his car and which he told us we could forget about if I would pay him $1500 for the 50 acres of land. Mr. Beavers' name does not appear in the body of the deed which I claim he was under obligation to cancel. It is a security deed from me to Mrs. L. B. Williams. When I signed this deed I delivered it to Mr. Beavers, and Mr. Beavers was the one who canceled it as attorney in fact for Mrs. L. B. Williams. My father and I engaged the law firm of Fort and Fort to represent us in attempting to close the transaction, and invited Mr. Beavers to meet us at our lawyer's office, which he did. Mr. Beavers raised the contention in the law office that my father and I owed him $240 back rent, which we denied. We argued and discussed the matter for some forty minutes and Mr. Beavers finally suggested that I give him a note for $125, and that he would surrender his rent claim for $240. At first I refused and then my lawyer called me out of the room and told me that I ought to go ahead and sign it because it would be better to fight over the $125 note than to fight over the rent notes and the land. After this my lawyer drew in his own handwriting the note sued upon, and I signed it and gave it to Mr. Beavers and Mr. Beavers delivered to me the two rent notes which he claimed we owed and also the canceled security deed."
Furlow Hall, father of the defendant, testified as follows: "I am the father of H. Dennis Hall. I made arrangements with Mr. Beavers for Dennis to buy this 50 acres of land. When I made these arrangements I asked Mr. Beavers about the back rent which he claimed we owed and which I claimed we didn't. He said he would take $1500 for the place and would give Dennis a clear title to the place. I told him that would be satisfactory, *Page 726 
but in order to avoid any misunderstanding coming up later I wanted him to surrender the rent notes which he was holding and upon which he claimed we owed him. He said he would give them to us but they had been stolen out of his car. These rent notes covered the years 1939 and 1940, the last two years we rented the place before we bought it in 1943, and they were for $120 per year. I did not pay these notes because Mr. Beavers was supposed to make some repairs on the place and did not do it and I made them and charged it back to him. These notes state that no repairs are to be required of the landlord, Mr. Beavers, but the repairs I am talking about came up before I signed these rent notes. Mr. Beavers had agreed to make these repairs and I never could get him to do it so I got tired of waiting for him and made them myself and charged them back to him. We did not rent this place during 1941 and 1942 and during those two years Mr. Beavers did not say a thing to us about this back rent we were supposed to owe, but when Dennis got ready to buy it in 1943, I wanted to make sure that this matter about the back rent was settled and that was when Mr. Beavers told me that if Dennis would pay him $1500 for the property he would forget about the back rent and that he would surrender the old rent notes he had been holding, but that they had been stolen out of his car. After we made arrangements for Dennis to buy this place I never heard any more about this back rent until that day up there in Fort's office when Dennis tried to get Beavers to take the final payment on the $1500 which he was supposed to pay for the place, and Beavers would not do it and brought out these rent notes. At first he wanted Dennis to sign a note for $240 and then he came down until he got down to $125 and Dennis signed it and gave it to him. All the time this was going on Dennis told him he did not owe him anything and asked him to give him the canceled security deed he had promised him when he made the last payment. When Dennis signed the $125 note, Beavers took the final payment on the $1500 and as attorney in fact for Mrs. L. B. Williams canceled and delivered to Dennis the security deed on the 50 acres of land. He also gave to Dennis the rent notes he had been holding, and they were the same notes which he had previously told us he would surrender to us if it were not for the fact they were stolen out of his car." *Page 727 
This was all of the evidence. At the conclusion of the testimony, the trial judge directed a verdict for the plaintiff. The defendant excepted to the direction of the verdict, by a direct bill of exceptions to this court, on the grounds: "(1) Because the evidence introduced did not demand a verdict in favor of the plaintiff; (2) because the evidence introduced by the defendant constituted a legal defense to the plaintiff's suit and as such was entitled to consideration by the jury; (3) because the evidence introduced raised an issue of fact which should have been submitted to a jury and which would have legally authorized them to find a different verdict from that directed by the court; (4) because the court erred in directing a verdict for the plaintiff."
Hall, the plaintiff in error, alleged that the note sued on was made by him to Beavers, the defendant in error, for the sole purpose of obtaining the cancellation of a security deed which the defendant in error was already under a duty to cancel and deliver to him, but refused to do so until the plaintiff in error executed the note in question for a pretended debt which he did not owe.
The evidence shows that Hall had purchased a 50-acre tract of land, for which he agreed to pay $1500, that he paid $300 cash and gave three notes for $400 each, payable yearly, for the balance, and that he executed a security deed to this land, in favor of Mrs. L. B. Williams, to secure these notes; that he had all of these transactions with Beavers and paid all of the notes except the last one, and Beavers refused to accept payment for this one; that Hall and his father had been renting this land for several years before Hall bought it; that for the purpose of getting the transaction closed, Hall and his father invited Beavers to meet them in their lawyer's office, which he did; and that Beavers contended the Halls owed him $240 on two notes for back rent, which they denied. Hall testified further: "We argued and discussed the matter for some forty minutes, and Mr. Beavers finally suggested that I give him a note for $125 and that he would surrender his rent claim for $240. At first I refused and then my lawyer called me out of the room and told me that I ought to go ahead *Page 728 
and sign it because it would be better to fight over the $125 note than to fight over the rent notes and the land. After this my lawyer drew in his own handwriting the note sued upon and I signed and gave it to Mr. Beavers, and Mr. Beavers delivered to me the two rent notes which he claimed we owed and also the canceled security deed."
The evidence conclusively shows that the note sued on was given in settlement of the two disputed rent notes. "A compromise or mutual accord and satisfaction is binding on both parties." Code, § 20-1205. "Where a claim is disputed, and is settled and adjusted by the parties, and a contract is accordingly made whereby one promises to pay to the other a sum of money, the promisor is bound thereby, though such question be really free from doubt, and properly resolved would have absolved him from all liability. Moreover, in order to render valid the compromise of a claim, it is not essential that the matter should be really in doubt. It is sufficient if the parties consider it so far doubtful as to make it the subject of a compromise." Folds v.Folds, 187 Ga. 463, 466 (1 S.E.2d 4). For rulings to the same effect see City Electric Ry. Co. v. Floyd County,115 Ga. 655, 657 (42 S.E. 45), Glenn v. Zenovitch, 128 Ga. 596
(3) (58 S.E. 26), Preston v. Ham, 156 Ga. 223
(119 S.E. 658), and Prince Hall Masonic Bldg. Assn. v. Howard,36 Ga. App. 169 (136 S.E. 94). "A defendant must stand or fall upon his defense as laid [citing cases], and since the defendant by his evidence admitted that the note actually represented a disputed consideration, and thus failed to sustain his plea as made, setting up a want of consideration, he would not, in the absence of a sufficient plea of fraud, be able to vary by parol the terms of his unconditional promise by which the disputed claim had been liquidated." (Citing cases.) Stewart v.Hardin, 24 Ga. App. 611, 612 (2) (101 S.E. 716). The testimony of both Dennis Hall and his father shows that the $125 note sued on represents a disputed consideration. They testified that Beavers contended that they owed the two rent notes for $240, which they denied; that they argued and discussed the matter for some time, and Beavers finally suggested that Dennis Hall give him a note for $125, and that he would surrender the rent notes for $240; that Hall's lawyer then *Page 729 
drew in his own handwriting the note sued on, and H. Dennis Hall signed and delivered it to Beavers, and Beavers delivered the two rent notes to Hall and also canceled the security deed. So, the evidence for the defendant defeats his own contention that the note sued on was without consideration. No fraud was alleged or claimed by the defendant in connection with the note sued on. Code § 110-104 is as follows: "Where there is no conflict in the evidence, and that introduced, with all reasonable deductions or inferences therefrom, shall demand a particular verdict, the court may direct the jury to find for the party entitled thereto." Where a defendant admits a prima facie case in the plaintiff and assumes the burden of proving an affirmative defense, but fails to carry such burden, the court may properly direct a verdict for the plaintiff. Southern Ry. Co. v.Miller, 40 Ga. App. 448 (150 S.E. 100); Jenkins v.Lowrey, 24 Ga. App. 108 (100 S.E. 37); Jarrell v.Gillespie, 24 Ga. App. 805 (102 S.E. 370). The verdict in favor of the plaintiff in the present case was demanded, and the trial judge did not err in so directing. The case of Hall v.Morrison, 92 Ga. 311 (1) (18 S.E. 293), cited and relied upon by the plaintiff in error, is not applicable and controlling under the facts of this case.
Pursuant to the Act of the General Assembly, approved March 8, 1945 (Ga. L. 1945, p. 232, Code (Ann. Supp.) § 24-3501), requiring that the full court consider any case in which one of the judges of a division may dissent, this case was considered and decided by the court as a whole.
Judgment affirmed. Sutton, C. J., MacIntyre, P. J., Gardner,Parker, and Townsend, JJ., concur. Felton, J., dissents.